Case 1:24-cv-00650-JPH-MG             Document 96    Filed 11/01/24     Page 1 of 1 PageID #: 824




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS

                                      CASE NO.: 1:24-cv-00650

   TRIANGLE EXPERIENCE GROUP, INC.,

                         Plaintiff,
   v.

   MAX MINDS, LLC,

                         Defendant.


                         NOTICE OF STRIKING DOCKET ENTRY 95

          Defendant Max Minds, LLC, by and through its undersigned counsel, hereby strikes the

  Motion to Dismiss filed at docket entry 95, which contained 6 transpositions of the number VI to

  the number IV. The corrected Motion to Dismiss is being filed herewith.

  Dated: November 1, 2024                     Respectfully submitted,


                                              /s/ J. Campbell Miller
                                              J. CAMPBELL MILLER
                                              Bar Number: 38279-49
                                              campbell.miller@sriplaw.com

                                              SRIPLAW, P. A.
                                              231 South Rangeline Road
                                              Suite H
                                              Carmel, Indiana 46032
                                              332.600.5599 – Telephone
                                              561.404.4353 – Facsimile

                                              Counsel for Defendant Max Minds, LLC




                                             SRIPLAW
              CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ INDIANA ◆ TENNESSEE ◆ NEW YORK ◆ TEXAS
